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10 Attorneys for Plaintiffs NIRVANA L.L.C.

11
                         UNITED STATES DISTRICT COURT
12
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     NIRVANA L.L.C., a Washington            Case No.:
14 Limited Liability Company,
                                             COMPLAINT FOR:
15
                Plaintiffs,                  (1) COPYRIGHT INFRINGEMENT (17
16                                              U.S.C. § 101 et. seq.);
           v.                                (2) FALSE DESIGNATION OF
17
                                                ORIGIN UNDER THE LANHAM
     MARK JACOBS INTERNATIONAL
18                                              ACT (15 U.S.C. § 1125(a) et seq.);
     LL.C., a Delaware Limited Liability
                                             (3) TRADEMARK INFRINGEMENT
19   Company; SAKS INCORPORATED,
                                                UNDER CALIFORNIA COMMON
20
     d/b/a SAKS FIFTH AVENUE, a
                                                LAW; AND
     Tennessee Corporation; NEIMAN
21                                           (4) UNFAIR COMPETITION UNDER
     MARCUS GROUP LIMITED, L.LC., a
                                                CALIFORNIA COMMON LAW.
22   Delaware Limited Liability Company;
     and Does 1 through 10,
23                                           DEMAND FOR JURY TRIAL
                Defendants.
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                                        COMPLAINT
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 1        Plaintiff Nirvana L.L.C. (“Nirvana”), for its Complaint against defendants
 2 Marc Jacobs International L.L.C. (“Marc Jacobs”), Saks Incorporated, doing

 3 business as Saks Fifth Avenue (“Saks”), Neiman Marcus Group Limited (“Neiman

 4 Marcus”), and Does 1 through 10, alleges as follows:

 5                               SUMMARY OF ACTION
 6        1.     Defendants have infringed Nirvana’s copyright, misleadingly used
 7 Nirvana’s common law trademarks, and utilized other elements with which Nirvana

 8 is widely associated to make it appear that Nirvana has endorsed or is otherwise

 9 associated with Defendant Marc Jacobs’ “Bootleg Redux Grunge” collection of

10 clothing it is selling to the public when, in fact, Nirvana has not done so and is not

11 so associated. Defendants Saks and Neiman Marcus are currently selling Marc

12 Jacobs’ infringing products in their stores throughout the United States. Nirvana

13 seeks compensatory and punitive damages for the harm Defendants’ actions have

14 caused, and injunctive relief to stop Defendants’ infringing conduct.

15                            JURISDICTION AND VENUE
16        2.     This is a civil action arising under the copyright and trademark laws of
17 the United States and the statutory and common laws of the State of California.

18 This Court therefore has federal question jurisdiction over this action pursuant to 15

19 U.S.C. § 1121, 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a), as well as supplemental

20 jurisdiction over the state law claims asserted herein.

21        3.     Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1400(a)
22 in that, inter alia, Plaintiffs and Defendants may be found in this district and a

23 substantial portion of the events described took place in this district.

24                                     THE PARTIES
25        4.     Plaintiff Nirvana is, and at all times mentioned herein was, a
26 Washington limited liability that does business in this District.

27        5.     Defendant Marc Jacobs is a Delaware limited liability company that
28 does business in this District.

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 1         6.     Defendant Saks is a Tennessee corporation that does business in and
 2 has a retail store in this District.

 3         7.     Defendant Neiman Marcus is a Delaware limited liability company that
 4 does business and has a retail store in this District.

 5         8.     Does 1 -10, inclusive, are sued herein under fictitious names because
 6 their true names and capacities are unknown at this time. The complaint will be

 7 amended appropriately when their names and capacities are ascertained.

 8         9.     On information and belief, Nirvana alleges that each of such fictitiously
 9 named Defendants is responsible in some manner for the occurrences alleged herein.

10         10.    Defendants Marc Jacobs, Saks, Neiman Marcus and Does 1-10 are
11 collectively referred to as the “Defendants” hereafter.

12         11.    Defendants, and each of them are individuals and business entities who,
13 upon information and belief, are acting in concert and active participation with each

14 other in committing the wrongful acts alleged herein.

15                               GENERAL ALLEGATIONS
16         12.    Nirvana is one of the most famous and influential rock bands in history.
17 According to Rolling Stone’s artist biography, “Few bands in rock history have had

18 a more immediate and tangible impact on their contemporary pop musical landscape

19 than Nirvana did in the early Nineties[,]” almost single-handedly popularizing the

20 “alternative rock” and “grunge” musical genres with which they became widely

21 associated. (http://rollingstone.com/music/artists/nirvana/biography). Nirvana is

22 one of the best-selling rock bands of all time, with more than 75 million records sold

23 worldwide, and was inducted into the Rock and Roll Hall of Fame in 2014. All of

24 their albums have received awards and accolades. For example, Nirvana’s second

25 album Nevermind was named the top album of the 1990s by both Rolling Stone and

26 Time magazines, while The Rock and Roll Hall of Fame Museum ranked Nevermind

27 number 10 on its “The Definitive 200 Albums of All Time” list in 2007. In 2002,

28 NME awarded the first single from Nevermind, “Smells Like Team Spirit,” the

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 1 number two spot on its list of “100 Greatest Singles of All Time”, while VH1 placed

 2 “Smells Like Teen Spirit” at number one on its list of “100 Greatest Songs of the

 3 Past 25 Years” in 2003. In 2004, Rolling Stone ranked “Smells Like Teen Spirit”

 4 ninth on its list of “The 500 Greatest Songs of All Time.”

 5        13.    Among the copyrighted works owned by Nirvana is a “Smiley Face”
 6 design and logo, Copyright Registration No. VA0000564166, created by Kurt

 7 Cobain in about 1991 and registered for copyright in 1993. A true and correct copy

 8 of Nirvana’s copyright registration for that design and logo, together with a deposit

 9 copy of the registered images, is attached as Exhibit 1.

10        14.    Nirvana’s “Smiley Face” logo was first licensed in 1992.
11 Representations of that copyrighted and licensed “Smiley Face” design and logo are

12 shown below:

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22        15.    Nirvana has used that copyrighted design and logo continuously since
23 1992 to identify its music and licensed merchandise. It has licensed its copyrighted

24 logo on literally dozens of different t-shirts, shirts, hats, hoodies, bags, backpacks,

25 glasses, wallets, and other items of merchandise, many of which have sold

26 extensively for decades, both with and without use of the “Nirvana” mark adjacent

27 to the Smiley Face design and logo. Exemplar uses, beginning with the first use on

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 1 a poster advising of release party for Nirvana’s Nevermind, album, are set forth

 2 below:

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19        16.   Through Nirvana’s more than 25-years of use of its copyrighted
20 “Smiley Face” design and logo to identify its services and merchandise, that design

21 and logo has become widely associated with and identifies Nirvana as the source of

22 the goods and services that bear it in the minds of the consuming public. Further,

23 through that extensive use, that design and logo has come to symbolize the goodwill

24 associated with Nirvana to a significant portion of the consuming public, which

25 assumes that all goods or services that bear the logo are endorsed by or associated

26 with Nirvana.

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 1                     DEFENDANTS’ WRONGFUL CONDUCT
 2         17.   In or about November 2018, Marc Jacobs announced the release of its
 3 “Bootleg Redux Grunge” clothing collection. Included in that collection are items

 4 of clothing that utilize a design and logo virtually identical to Nirvana’s copyrighted

 5 image, as shown below:

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           18.   Marc Jacobs’ infringing products all use a “smiley face” image that is
15
     obviously similar to, and an intentional copy of, Nirvana’s copyrighted image as
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     shown below, with the minor differences unlikely to be noticed by the consuming
17
     public. Further, Marc Jacobs is using that image on products obviously similar to
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     licensed Nirvana products as shown below:
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10        19.    In addition to Defendants’ use of a virtually identical image to
11 Nirvana’s copyrighted image on the infringing products themselves, Defendants are

12 using a virtually identical copy of Nirvana’s copyrighted image more generally to

13 promote Marc Jacobs’ overall “Bootleg Redux Grunge Collection,” which includes

14 many other products, by making the Nirvana image the signature image used at

15 promotional events for the “Bootleg Redux Grunge” collection,” as shown below:

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27        20.    Defendants’ use of Nirvana’s copyrighted image on and to promote its
28 products is intentional, and is part and parcel of a wider campaign to associate the

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 1 entire “Bootleg Redux Grunge” collection with Nirvana, one of the founders of the

 2 “Grunge” musical genre, so as to make the “Grunge” association with the collection

 3 more authentic. Promotional copy accompanying each online listing of Marc

 4 Jacobs’ products bearing an image of the infringing “Smiley Face” design and logo

 5 advertises this line as a “Bootleg” Grunge collection, admitting the “bootleg” or

 6 unauthorized nature of these products, while emphasizing the “Grunge” genre of

 7 music with which Nirvana is widely associated. Further, each Marc Jacobs webpage

 8 promoting those infringing products also state that, “This bootleg [product] sure

 9 smells like teen spirit[,]” a conspicuous reference to one of Nirvana’s most famous

10 songs, “Smells Like Teen Spirit,” with which Nirvana is widely associated. Marc

11 Jacobs’ promotional materials also uses the title to another famous Nirvana song,

12 “Come As You Are,” to promote this unauthorized product line as depicted above.

13 Indeed, Marc Jacobs personally wears in infringing t-shirt directly above this

14 Nirvana song title to promote his “Bootleg Grunge” collection:

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                                         COMPLAINT
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 1        21.    All of Defendants’ actions as described above are completely
 2 unauthorized by Nirvana, and are calculated to mislead the public into falsely

 3 believing that Nirvana endorses the entire “Bootleg Redux Grunge” collection and

 4 those products within that collection that display Nirvana’s copyrighted “Smiley

 5 Face” design and logo, when Nirvana has not done so. Further, Defendants’

 6 misconduct is intentional. Although Nirvana has demanded that Defendants cease

 7 and desist all such wrongful activities in writing, Defendants have not only ignored

 8 those demands and failed to stop any of the other wrongful activities as described

 9 above, they have further expanded their wrongful activities by use of additional

10 elements widely associated with Nirvana to mislead the public into believing there is

11 an association between Nirvana and Marc Jacobs when there is not. For example,

12 after Nirvana demanded on or about December 4, 2018 that Marc Jacobs cease and

13 desist its infringing conduct, Marc Jacobs on December 9, 2018 published

14 promotional materials for its “Bootleg Redux Grunge” collection in the New York

15 Times that both referenced Nirvana’s famous “Nevermind” album and

16 “recommended” well-known Nirvana songs “Smells Like Teen Spirit,” “As You

17 Are,” and “Heart Shaped Box” as quintessential “Grunge” songs. Further, Marc

18 Jacobs is displaying a meme from a video of Nirvana and its co-founder and singer

19 Kurt Cobain performing “Smells Like Teen Spirit” on its “Tumbler” page. See

20 http://marcjacobs.tumblr.com/post/180377235602/kurt-cobain-in-nirvanas-smells-

21 like-teen-spirit/amp. Through these efforts, Defendants are further evoking Nirvana

22 in the minds of the promotion’s readers and meme’s viewers, further attempting to

23 associate Marc Jacobs’ “Bootleg Redux Grunge “collection with Nirvana, even

24 though no such association exists.

25        22.    Defendants’ wrongful actions as described above have caused Nirvana
26 to suffer irreparable injuries, and threaten to dilute the value of Nirvana’s licenses

27 with its licensees for clothing products confusingly similar to those infringing

28 products offered by Defendants. Defendants’ misuse of Nirvana’s intellectual

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  1 property to promote themselves and the “Bootleg Redux Grunge:” collection

  2 damages the goodwill associated with Nirvana and violates its rights in numerous

  3 ways.

  4                          FIRST CLAIM FOR RELIEF
  5
         (Copyright Infringement, 17 U.S.C. § 101 et. seq. by Nirvana Against All
                                      Defendants)
  6        23. Nirvana realleges and incorporates by reference all of the preceding
  7 paragraphs.

  8         24.   Nirvana owns a valid U.S. Copyright in its “Smiley Face” design and
  9 logo, and has obtained a copyright registration for it as shown in Exhibit 1.

 10         25.   By creating and selling products depicting substantially similar to
 11 Nirvana’s copyrighted “Smiley Face” design and logo as described above, and by

 12 reproducing and displaying those images to promote Defendants “Bootleg Redux

 13 Gunge” collection, Defendants have reproduced, publicly displayed, distributed, and

 14 created unauthorized derivatives of Nirvana’s copyrighted work in violation of

 15 Nirvana’s exclusive rights as set forth in 17 U.S.C § 106 et seq.

 16         26.   As a proximate result of Defendants’ copyright infringement, Nirvana
 17 has suffered significant damages in an amount not presently known with certainty,

 18 but which will be proved at trial. Further, Nirvana is suffering irreparable harm

 19 because of Defendants’ infringing activity.

 20         27.   Nirvana is entitled to the range of relief provided by 17 U.S.C. § 502-
 21 505, including injunctive relief and compensatory damages in an amount to be

 22 determined at trial.

 23                        SECOND CLAIM FOR RELIEF
 24 (False Designation of Origin Under the Lanham Act, 15 U.S.C. § 1125(a) et. seq.
                          by Nirvana Against All Defendants)
 25       28. Plaintiffs reallege and incorporate by reference all of the preceding
 26 paragraphs.

 27          29. Through decades of musical, licensing and other activity, Nirvana’s
 28    “Smiley Face” design and logo has, to a significant portion of the consuming
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  1    public, come to identify Nirvana as the source of the musical services and licensed
  2    products it has authorized to be released to the public. Nirvana owns and enjoys
  3    common law trademark rights in said design and logo under federal law, which
  4    rights are superior to any rights that Defendants may claim in and to that
  5    trademark with respect to Defendants’ products, services, and commercial
  6    activities. Nirvana’s design and logo mark is inherently distinctive and has
  7    acquired secondary meaning with the trade and consuming public, and/or has
  8    become distinctive in the minds of customers, in that Plaintiffs’ marks are
  9    associated with Nirvana and the unique products it licenses and musical services it
 10    provides.
 11         30.    Defendants have, without Nirvana’s permission, misappropriated
 12 Nirvana’s “Smiley Face” design and logo, and combined that unauthorized use with

 13 numerous other references to Nirvana’s name, song titles, music, and images of a

 14 Nirvana band member to mislead and confuse the public into believing that Nirvana

 15 approves of, endorses, or is otherwise associated with Defendants and the “Bootleg

 16 Grunge” Collection they are selling, when in fact Nirvana does not approve of,

 17 endorse, or in any way wish to be associated with Defendants, their “Bootleg

 18 Grunge” collection, or any of their other products or services. Defendants’ actions

 19 as described above are likely and will continue to cause confusion or mistake, or to

 20 deceive as to the origin, sponsorship, or approval of Defendant, their products,

 21 services and commercial activities by or with Nirvana, and thus constitute common

 22 law trademark infringement, false designation of origin, passing off, and unfair

 23 competition in violation of Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. 11 §

 24 1125(a)(1 )(A).

 25         31.    Defendants’ misconduct as described above is intentional. As a
 26 proximate result of said actions, Nirvana has suffered, is suffering, and will continue

 27 to suffer, irreparable injury to its rights, and has suffered, and will continue to suffer,

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  1 substantial loss of goodwill and loss in the value of its common law marks, unless

  2 and until Defendants are enjoined from continuing their wrongful acts.

  3        32.    Nirvana is entitled to the range of relief provided by 15 U.S.C. §§
  4 1116-17, including injunctive relief and compensatory damages in an amount to be

  5 determined at trial.

  6                           THIRD CLAIM FOR REIEF
  7
       (California Common Law Trademark Infringement by Nirvana Against All
                                         Defendants)
  8        33. Plaintiffs reallege and incorporate by reference all of the preceding
  9 paragraphs.

 10        34.    Through decades of musical, licensing and other activity, Nirvana’s
 11 “Smiley Face” design and logo has, to a significant portion of the consuming public,

 12 come to identify Nirvana as the source of the musical services and licensed products

 13 it has authorized to be released to the public. Nirvana owns and enjoys common law

 14 trademark rights in said under federal law, which rights are superior to any rights

 15 that Defendants may claim in and to that trademark with respect to Defendants’

 16 products, services, and commercial activities. Nirvana’s mark is inherently

 17 distinctive and has acquired secondary meaning with the trade and consuming

 18 public, and/or has become distinctive in the minds of customers, in that Plaintiffs’

 19 marks are associated with Nirvana and the unique products it licenses and services it

 20 provides.

 21        35.    Defendants have, without Nirvana’s permission, misappropriated
 22 Nirvana’s “Smiley Face” design and logo, and combined that unauthorized use with

 23 numerous other references to Nirvana’s name, song titles, music, and images of a

 24 Nirvana band member to mislead and confuse the public into believing that Nirvana

 25 approves of, endorses, or is otherwise associated with Defendants and the “Bootleg

 26 Grunge” Collection they are selling, when in fact Nirvana does not approve of,

 27 endorse, or in any way wish to be associated with Defendants, their “Bootleg

 28 Grunge” collection, or any of their other products or services. Defendants’ actions

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  1 as described above are likely and will continue to cause confusion or mistake, or to

  2 deceive as to the origin, sponsorship, or approval of Defendant, their products,

  3 services and commercial activities by or with Nirvana s, and thus constitute

  4 common law trademark infringement, false designation of origin, passing off, and

  5 unfair competition in violation of California law.

  6         36.     Defendants’ misconduct as described above is intentional, willful,
  7 wanton, malicious and oppressive. As a proximate result of said actions, Nirvana

  8 has suffered, is suffering, and will continue to suffer, irreparable injury to its rights,

  9 and has suffered, and will continue to suffer, substantial loss of goodwill and loss in

 10 the value of its common law marks, unless and until Defendants are enjoined from

 11 continuing their wrongful acts.

 12         37.     Nirvana is entitled to injunctive relief and compensatory and punitive
 13 damages in an amount to be determined at trial.

 14                           FOURTH CLAIM FOR RELIEF
 15
            (California Unfair Competition by Plaintiffs Against All Defendants)

 16
            38.     Plaintiffs reallege and incorporate by reference all of the preceding

 17
      paragraphs.

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            39.     Defendants’ actions are likely to cause confusion, to cause

 19
      misrepresentation, to cause mistake, and/or to deceive the public as to the affiliation,

 20
      approval, sponsorship, or connection between Defendants and Nirvana, and

 21
      constitute unfair competition at common law.

 22
            40.     By reason of Defendants’ actions in connection with Defendants’

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      products, services and commercial activities, Nirvana has suffered, and will

 24
      continue to suffer, irreparable injury to its rights, and has suffered, and will continue

 25
      to suffer, substantial loss of goodwill and loss in the value of its trademark, unless

 26
      and until Defendant is enjoined from continuing her wrongful acts.

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  1                                PRAYER FOR RELIEF
  2        WHEREFORE, Plaintiffs respectfully request that the Court:
  3        1.     Preliminarily and permanently enjoining Defendants and all those
  4 acting in active concert with them from all sales of any product or service using

  5 Nirvana’s “Smiley Face” design and logo, or any other image substantially similar

  6 thereto, or to promote Defendants’ “Bootleg Redux Grunge” collection in any

  7 manner;

  8        2.     Preliminarily and permanently enjoining Defendants and all those
  9 acting in active concert with them from using Nirvana’s “Smiley Face” design and

 10 logo, and Nirvana’s name, song titles, any other indicia of Nirvana and any other of

 11 Nirvana’s common law marks or any marks confusingly similar thereto, for the

 12 purpose of the sale, distribution, marketing, advertising, licensing, or implying the

 13 endorsement of, or association with Nirvana, or otherwise promoting Defendants or

 14 Defendants’ goods, services or commercial activities;

 15        3.     Requiring Defendants to remove from the Internet and any and all other
 16 media in which Defendants have ever placed them all advertising, merchandising,

 17 electronic press kits, videos, promotional materials, and any other things bearing any

 18 or all of the copyrighted Nirvana “Smiley Face” design and logo, marks, names,

 19 images of Nirvana band members, or real or fictitious sayings to promote

 20 Defendants’ “Bootleg Grunge” Collection or any other of Defendants’ products or

 21 services;

 22        4.     Requiring Defendants to account to Plaintiffs for all revenues
 23 Defendants have received as a result of their unauthorized misappropriation and

 24 infringement of Plaintiffs’ copyright and common law trademarks from the

 25 inception of said infringement to the date of judgment herein;

 26        5.     That Plaintiffs have and recover a money judgment reflecting their
 27 compensatory and general damages at trial;

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  1        6.    For punitive damages against defendants for their oppressive,
  2 fraudulent, and malicious conduct;

  3        7.    That Defendants be ordered to pay Plaintiffs’ costs, including
  4 reasonable attorneys’ fees, and

  5        8.    For such other and further relief as the Court deems just and proper.
  6

  7 DATED: December 28, 2018             RIMON, P.C.

  8

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  1                              DEMAND FOR JURY TRIAL
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            Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a
  3
      trial by jury on all of the claims in their complaint that are triable by a jury.
  4

  5

  6 DATED: December 28, 2018                   By: /s/ Mark S. Lee
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